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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  BARBARA DOWNZ                                     CIVIL ACTION NO. 24-1529
  Plaintiff,
             v.

  CITIZENS BANK, N.A.
  Defendant.

                       MEMORANDUM RE: MOTION TO DISMISS

Baylson, J.                                                                 November 18, 2024

       Plaintiff Barbara Downz (“Plaintiff”), a 74-year-old woman, alleges that she was the victim

of fraud perpetrated through her Home Equity Line of Credit (“HELOC”) and checking account

with Citizens Bank, N.A. (“Citizens Bank” or “Defendant”). Plaintiff alleges the following five

claims against Citizens Bank:

   1. Negligence (Count I);

   2. Negligence per se (Count II);

   3. Violation of the unfair trade practices and consumer protection law (“UTPCPL”) (Count

       III);

   4. Aiding and abetting fraud (Count IV); and

   5. Breach of contract (in the alternative) (Count V).

       Presently before the Court is Citizens Bank’s Motion to Dismiss all counts of the Amended

Complaint for failure to state a claim. For the reasons stated below, Citizen Bank’s Motion is

GRANTED IN PART and DENIED IN PART. Citizen Bank’s Motion is GRANTED as to the

negligence per se claim, and is DENIED as to the negligence, UTPCPL, aiding and abetting fraud,

and breach of contract claims.




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  I.     RELEVANT FACTUAL ALLEGATIONS

         Plaintiff is a 74-year-old woman who has both a home equity line of credit (“HELOC”)

and a personal checking account with Citizens Bank. Am. Compl. (ECF 12) at ¶¶ 1, 13–14. The

Amended Complaint alleges that Plaintiff entered into an agreement for a HELOC with Citizens

Bank on September 21, 2020 (the “HELOC Agreement”), and that the HELOC extended a

revolving line of credit in the amount of $132,000.00. Id. ¶¶ 19-20 (citing Ex. A).

         A. The Alleged Fraudulent Schemes

         The Amended Complaint alleges that Plaintiff was the victim of an elaborate two-part

fraudulent scam involving both her accounts with Citizens Bank.

            1. Scam #1: “C.J. Thomas”

         In November 2021, an alleged fraudster posing as “C.J. Thomas” attempted multiple times

to deposit fraudulent funds into Plaintiff’s accounts: one for $12,000 on or around November 2,

2021, which was returned due to insufficient funds on November 4, 2021, and another for $4,000

on around November 5, 2021, which was also returned as altered on November 9, 2021. Id. ¶¶

31–32.

         On the third try, the scammer allegedly attempted to fraudulently deposit $131,900 into

Plaintiff’s HELOC on November 15, 2021. The Amended Complaint alleges that the deposit was

returned as “unauthorized” on December 2, 2021, but that Citizens Bank’s online banking

application (“app”) allegedly credited this $131,900 deposit and reflected that Plaintiff’s HELOC

had an inflated available balance of $131,908.46. Id. ¶¶ 37–38. However, Plaintiff allegedly only

had an available balance of $8.46. Id. ¶¶ 39–41. Because of the bank’s alleged misrepresentation

of Plaintiff’s balance in her HELOC, the scammer was allegedly able to convince Plaintiff that he

had mistakenly deposited $131,900 into her HELOC and that the money—which was never

actually available to Plaintiff—needed to be returned. Id. ¶¶ 34–35, 42, 45.


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         The Amended Complaint alleges that on November 17, 2021, Plaintiff transferred $60,000

from her HELOC to her personal checking account, an overdraft of $59,991.54, and began sending

payments to the scammer from her checking account. Id. ¶¶ 46–48.

             2. Scam #2: “Derrick Vinson”

         A few days later, on November 21, 2021, a second scammer identifying himself as “U.S.

Marshall Derrick Vinson” allegedly posed as a Department of Homeland Security employee and

informed Plaintiff that C.J. Thomas was a scammer who had placed illegal money into her

accounts.     Vinson allegedly threatened Plaintiff with prosecution unless she “returned” the

$131,900 from her HELOC to the federal government. Id. ¶¶ 49–55. Notwithstanding that no

such money was ever available to Plaintiff as part of her HELOC, the Amended Complaint alleges

that Citizens Bank continued its erroneous reporting of Plaintiff’s available HELOC balance in its

app and in Plaintiff’s November 28, 2021 monthly mortgage statement. Id. ¶ 58.

         Plaintiff alleges she complied with the scammer’s instructions. Plaintiff alleges she

transferred $45,000 from her HELOC to her checking account, causing her to unknowingly

overdraft again. Id. ¶¶ 56–57. The Amended Complaint alleges that Plaintiff was unaware these

substantial advances from her HELOC were overdrafts because of Citizens Bank’s alleged

misrepresentations regarding Plaintiff’s available balance. Id. ¶ 59.

         B. Defendant Allegedly Fails to Protect Plaintiff From Fraud

         The Amended Complaint alleges that by December 2, 2021, but perhaps earlier, Citizens

Bank was aware that the $131,900 deposited into Plaintiff’s HELOC by C.J. Thomas was

fraudulent. 1 Id. ¶ 74. Notwithstanding Citizens Bank’s awareness of the fraud, the Amended



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 On January 25, 2024, Plaintiff allegedly filed a complaint with the Attorney General of Pennsylvania, alleging that
Citizens Bank had “actual knowledge” of fraud after the $131,900 attempted deposit into Plaintiff’s line of credit in
November 2021. Id. ¶¶ 107, 158.


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Complaint alleges that Citizens Bank never communicated with Plaintiff to warn her that she was

the victim of an alleged fraud, aside from an attempted phone call. Id. ¶¶ 76–78, 82. As a result,

the Amended Complaint alleges that Plaintiff continued sending money to fraudsters from her

checking account through at least January 14, 2022, with Citizens Bank approving at least nineteen

separate transactions, despite allegedly knowing she was withdrawing over-drafted funds. Id. ¶¶

70, 78–79.

         Plaintiff alleges that the $105,000 she unknowingly over-drafted from her HELOC caused

the outstanding principal balance on the line of credit to skyrocket and, consequentially, her

monthly loan repayments to balloon. Id. ¶¶ 83–84, 86. Plaintiff alleges she often could not make

the full payments and regularly accrued late fees. Id. ¶¶ 88–89. In September 2023, Citizens Bank

allegedly threatened to foreclose on Plaintiff’s home for failing to make her payments. Id. ¶¶ 95,

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 II.     PROCEDURAL HISTORY

         Plaintiff commenced this action in the Philadelphia Court of Common Pleas on January

29, 2024. ECF 1 at ¶ 1. On April 12, 2024, Citizens Bank removed the case to this Court. See

generally id. On June 13, 2024, Plaintiff filed an Amended Complaint (ECF 12), asserting the

following five claims:

      1. Negligence;

      2. Negligence per se;

      3. Unfair Trade Practices and Consumer Protection Law (“UTPCPL”);

      4. Aiding and abetting fraud; and

      5. Breach of contract (in the alternative).

         On August 7, 2024, Citizens Bank filed a Motion to Dismiss all counts for failure to state

a claim and failure to state with particularity the circumstances relating to fraud. ECF 19. Plaintiff


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responded on September 4, 2024, ECF 22, and Citizens Bank filed a reply on September 11, 2024.

ECF 23.

III.    PARTIES’ CONTENTIONS

        Citizens Bank first argues that Plaintiff’s tort and statutory claims (Counts I–IV of the

Amended Complaint) are barred by Pennsylvania’s gist of the action doctrine, which precludes

tort claims that merely replicate a contract claim. ECF 19 at 5–9. Citizens Bank next contends

that the tort claims (Counts I, II, and IV) are time-barred, as Plaintiff was aware of her injury by

December 31, 2021 at the latest, more than two years prior to filing her complaint. Id. at 10–11.

Citizens Bank further argues that the Amended Complaint fails to plead a claim for aiding and

abetting fraud (Count IV) with specificity under Rule 9(b) of the Federal Rules of Civil Procedure,

as the Amended Complaint alleges the bank only learned of the fraud after it occurred and acted

accordingly. Id. at 12–13. Lastly, Citizens Bank asserts that the alternative breach of contract

claim is precluded by the express terms of the contract requiring notice of alleged mistakes in bank

statements. Id. at 15–16. 2

        Plaintiff counters that Citizens Bank’s gist of the action argument is premature on a motion

to dismiss, and in any event, the Amended Complaint alleges a violation of duties existing beyond

the contract. ECF 22 at 13–35. Plaintiff also argues that dismissal on statute of limitations grounds

is inappropriate because (1) it requires a fact intensive inquiry which is improper on a motion to

dismiss and (2) the statute of limitations is equitably tolled by the discovery rule and/or because

Citizens Bank allegedly concealed the fraud. Id. at 41–48. Plaintiff further argues that the

Amended Complaint sufficiently pleads Citizen Bank’s knowledge of the fraud and substantial

assistance by allegedly misrepresenting the amounts in Plaintiff’s account and allowing continued


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 Defendant also argues that negligence per se (Count II) cannot be pled as a stand-alone cause of action under
Pennsylvania law. Id. at 21-22. Plaintiff agrees. ECF 22 at 25 n.16.


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fraudulent transactions. Id. at 36–40. Plaintiff lastly contends that Citizen Bank’s argument for

dismissing the breach of contract claim misconstrues the Amended Complaint’s allegation that

Citizens Bank breached the contract by extending Plaintiff credit beyond her contractual limit. Id.

at 48–50.

IV.    LEGAL STANDARD

       A. Rule 12(b)(6)

       To survive a motion to dismiss under Federal Rule 12(b)(6), a plaintiff must include

sufficient facts in the complaint that, accepted as true, “state a claim to relief that is plausible on

its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A complaint is insufficient if it

suggests only the “mere possibility of misconduct” or is a “[t]hreadbare recital[] of the elements

of a cause of action, supported by mere conclusory statements,” Ashcroft v. Iqbal, 556 U.S. 662,

678–79 (2009) (citing Twombly, 550 U.S. at 555), and so it will not suffice if it is “devoid of

further factual enhancement,” Iqbal, 556 U.S. at 678 (citation omitted). Thus, in considering a

motion to dismiss, the Court accepts all factual allegations as true and views them in a light most

favorable to the plaintiff, Doe v. Univ. of Sciences, 961 F.3d 203, 208 (3d Cir. 2020), but may not

“assume that [the plaintiff] can prove facts that it has not alleged[,]” Twombly, 550 U.S. at 563

n.8 (quoting Associated Gen. Contractors of Cal., Inc. v. Carpenters, 459 U.S. 519, 526 (1983)).

       B. Rule 9(b)

       Federal Rule 9(b) imposes a heightened pleading standard (the “particularity” requirement)

for allegations of fraud. Rule 9(b) may be satisfied by describing the circumstances of the alleged

fraud with precise allegations of date, time, or place, or by using some means of injecting precision

and some measure of substantiation into the allegations of fraud. Bd. of Trs. of Teamsters Local

863 Pension Fund v. Foodtown, Inc., 296 F.3d 164, 172 n. 10 (3d Cir. 2002).




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 V.    DISCUSSION

       A. Plaintiff’s Negligence Claim Is Not Precluded By The Gist Of The Action Doctrine
          And is Not Time-Barred

       Citizens Bank seeks dismissal of Plaintiff’s claim for negligence (Count I) as barred by

Pennsylvania’s gist of the action doctrine and by the two-year statute of limitations.

               1. Gist of the Action

       The gist of the action doctrine precludes a tort claim where the claim is essentially “a claim

against the party for breach of its contractual obligations.” Bruno v. Erie Ins. Co., 630 Pa. 79, 106

A.3d 48, 53 (Pa. 2014). To determine whether the gist of the action is a breach of contract or a

tort, courts look to the nature of the defendant’s purported duty. See Sales Benchmark Index LLC

v. DeRosa, 18-cv-2680, 2018 WL 3918090, at *4 (E.D. Pa. Aug. 2018) (Savage, J.) (citing Bruno,

106 A.3d at 63). Where the duty is defined by a contract and the dispute is about whether a

defendant did something he was contractually required to do, the plaintiff is limited to contractual

damages. See SEI Invs. Glob. Funds Servs. v. Citibank, N.A., 100 F. Supp. 3d 447, 453 (E.D. Pa.

2015) (Beetlestone, J.). Alternatively, if the duty arises out of a “broader social duty owed to all

individuals, which is imposed by the law of torts and, hence exists, regardless of the contract,”

then a cause of action sounding in tort lies. Bruno, 106 A.3d at 68–69.

       Plaintiff’s negligence claim is based in part on Citizens Bank’s alleged failure to monitor

Plaintiff’s account for fraud, warn Plaintiff of any instances of suspected fraud, and prevent

Plaintiff from obtaining the fraudulently deposited HELOC funds that had been transferred from

the line of credit to her checking account. Am. Compl. ¶ 119. Those duties are “imposed by the

law of torts and, hence exist[ ], regardless of the contract.” Bruno, 106 A.3d at 68–69.

       Specifically, the Amended Complaint alleges that Citizens Bank was on notice of

suspicious activity with Plaintiff’s accounts before the fraudster C.J. Thomas attempted to deposit



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$131,900 into Plaintiff’s HELOC. C.J. Thomas had previously attempted to deposit fraudulent

funds into Plaintiff’s checking account twice which Citizens Bank rejected within days. Am.

Compl. ¶¶ 30–33. Plaintiff plausibly pleads that Citizens Bank was aware of the attempted

fraudulent deposit of $131,900 at latest on December 2, 2021, id. ¶ 74, yet allegedly continued to

allow Plaintiff to withdraw money from her checking account that was over-drafted. Id. ¶¶ 78–

82. Thus, because Plaintiff’s negligence claim seems to be predicated on duties that do not arise

from the contract, Plaintiff’s claim is not barred by the gist of the action doctrine. Id. ¶¶ 119-32.

           2. Statute of Limitations

       Pennsylvania imposes a two-year statute of limitations for negligence and fraud claims. 42

Pa. C.S. § 5524(7). The statute begins to run “when an injury is inflicted and a corresponding right

to institute a suit for damages arises.” Gleason v. Borough of Moosic, 15 A.3d 479, 484 (Pa. 2011)

(citing Wilson v. El-Daief, 964 A.2d 354, 361 (Pa. 2009)). However, the discovery rule operates

to toll the running of the statute of limitations “until the injured party discovers or reasonably

should discover that he has been injured and that his injury has been caused by another party’s

conduct.” Fine v. Checcio, 870 A.2d 850, 858–59 (Pa. 2005). Application of the discovery rule

is a fact-intensive inquiry which is ordinarily determined by a jury. Gleason, 15 A.3d at 485.

       Although Plaintiff’s injury on the face of the Amended Complaint may have arisen by latest

December 2021, the Court agrees with Plaintiff that at this juncture it cannot determine whether

application of the discovery rule is appropriate. According to the Amended Complaint, Plaintiff

is a 74-year-old woman who fell victim to an elaborate fraud scheme and did not know of her

injury because Citizens Bank allegedly did not inform her of the fraud and misrepresented her

account balance. While “reasonable diligence is an objective test,” the Pennsylvania Supreme

Court has found that it is “sufficiently flexible…to take into account the difference[s] between

persons and their capacity to meet certain situations and the circumstances confronting them at the


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time in question.” Fine, 870 A.2d at 858 (quoting Crouse v. Cyclops Indus., 745 A.2d 606, 611

(Pa. 2000)). Because further factual development is necessary, the Court at this stage of the

proceedings declines to bar Plaintiff’s negligence claim as untimely. The Court will therefore

deny Citizen Bank’s motion to dismiss count I.

       B. Plaintiff’s Negligence Per Se Claim (Count II) Is Dismissed

       Plaintiff concedes that the claim for negligence per se is subsumed by Plaintiff’s negligence

claim. ECF 22 at 25 n.16. Accordingly, count II is dismissed with prejudice and subsumed

within the negligence claim in count I.

       C. Plaintiff’s UTPCPL Claim Is Not Barred By The Gist Of The Action Doctrine

       Citizens Bank asserts that Plaintiff’s claim under the UTPCPL is precluded under the gist

of the action doctrine. The Court disagrees.

       The Amended Complaint alleges that Citizens Bank breached the UTPCPL by

misrepresenting to Plaintiff that the scammer’s $131,900 was available to Plaintiff in her HELOC

and checking account, particularly after Citizens Bank allegedly became aware that the funds were

fraudulent and returned. Am. Compl. ¶ 144. Plaintiff allegedly relied on this misrepresentation,

causing her to fall for the scheme and believe the $131,900 was mistakenly deposited in her

account and needed to be returned to the scammers. By contrast, the Amended Complaint does

not allege any contractual obligation set forth in the HELOC Agreement requiring accurate

reporting of available balances, and Citizens Bank does not point to any. The Court finds that at

this stage of the case, the contract itself is collateral to any allegedly deceptive conduct as pled in

the Amended Complaint. See Earl v. NVR, Inc., 990 F.3d 310, 316 (3d Cir. 2021); Knight v.

Springfield Hyundai, 81 A.3d 940, 951 (Pa. Super. Ct. 2013). The Court will therefore deny

Defendant’s motion to dismiss count III.




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       D. Plaintiff States A Claim For Aiding And Abetting Fraud (Count IV)

       Citizens Bank argues that the claim for aiding and abetting fraud fails on the merits and is

barred by the statute of limitations and the gist of the action doctrine.

       A plaintiff alleging an aiding and abetting fraud claim must allege (1) the existence of a

fraud by a third party; (2) that the defendant had “actual knowledge” of the fraud; and (3) the

defendant provided “substantial assistance or encouragement” to the fraud. Horn v. JPMorgan

Chase & Co., No. CV 23-1693, 2024 WL 1142872, at *2 (E.D. Pa. Mar. 15, 2024) (citing Marion

v. Bryn Mawr Trust Co., 288 A.3d 76, 79 (Pa. 2023)). The U.S. Supreme Court has recently

observed, “actual knowledge can be proved through ‘inference from circumstantial evidence.’”

Intel Corp. Inv. Pol'y Comm. v. Sulyma, 589 U.S. 178, 189 (2020).

       Plaintiff’s allegations plausibly allege each element of this cause of action under a

heightened pleading standard. Plaintiff plausibly alleges Citizens Bank had actual knowledge of

the fraudulent schemes based on two prior unauthorized fraudulent deposits into Plaintiff’s

checking account that Citizens Bank flagged and returned. Plaintiff further plausibly alleges that

Citizens Bank substantially assisted in the fraud because Citizens Bank never alerted Plaintiff of

the fraud and allegedly misrepresented Plaintiff’s available HELOC balance, thus assisting in the

perpetuation of the fraud. Id. at ¶¶ 160–61.

       Moreover, the Court finds that at this stage, Citizens Bank’s purported duties to accurately

reflect Plaintiff’s account balances and to notify Plaintiff of ongoing fraudulent activity are duties

“imposed by the law of torts and[ ] hence exists, regardless of the contract.” Bruno, 106 A.3d at

68–69. Thus, the aiding and abetting fraud claim is not barred by the gist of the action doctrine.

       Lastly, Plaintiff’s claim is not time-barred because at this juncture, the Court cannot

determine whether application of the discovery rule to toll the two-year statute of limitations is




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appropriate. See supra at 8–9. The Court will therefore deny Citizen Bank’s motion to dismiss

Count IV.

         E. Plaintiff States A Claim For Breach Of Contract

         In her alternative claim for breach of contract in count V of the Amended Complaint,

Plaintiff alleges that Citizens Bank breached the HELOC Agreement by improperly extending

Plaintiff an additional $105,000 of credit beyond the HELOC Agreement’s $132,000 credit limit

cap without obtaining Plaintiff’s consent. Am. Compl. ¶¶ 172–73; ECF 22 at 48–49; id. at 49 n.

36. Citizens Bank responds that the Amended Complaint alleges that the additional $105,000

Plaintiff transferred from her HELOC to her checking account was not an extension of credit, but

an overdraft on Plaintiff’s line of credit. Am. Compl. ¶¶ 9–10, 85–86. Citizens Bank points to the

terms of the HELOC Agreement, as expressly recited by Plaintiff in her opposition brief, which

provide that “your credit limit will not be increased should you overdraw your Credit Line

Account.” ECF 22 at 48 (quoting Am. Compl., Ex. A ¶ 5).

         The Amended Complaint alleges that the $105,000 was an overdraft of Plaintiff’s line of

credit, but at this stage the Court will not interpret the HELOC Agreement’s provisions to

determine whether that constitutes an additional extension of credit. The Court will therefore deny

Citizens Bank’s motion to dismiss Plaintiff’s alternative claim for breach of contract, which will

proceed to discovery.

  VI. CONCLUSION

         For the foregoing reasons, Citizen Bank’s Motion is GRANTED IN PART and DENIED

IN PART. Citizen Bank’s Motion is GRANTED as to the negligence per se claim, and is

DENIED as to the negligence, UTPCPL, aiding and abetting fraud, and breach of contract claims.



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